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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE NO. 18-60624-CIV-COHN/SELTZER

 SHABRINA GERMAN,

        Plaintiff,

 v.

 ABILITY RECOVERY SERVICES, LLC,

        Defendant.
                                            /

                                ORDER TO SHOW CAUSE

        THIS CAUSE is before the Court sua sponte. On May 30, 2018, Defendant filed

 a notice indicating that the Parties have amicably resolved this dispute. [DE 18.] Yet, to

 date, the Parties have not filed a stipulation of dismissal. Accordingly, it is thereupon

        ORDERED AND ADJUDGED that the Parties shall show cause no later than

 JULY 20, 2018, as to why they have not yet filed a stipulation of dismissal.

        DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County,

 Florida, this 13th day of July, 2018.




 Copies provided to:
 Counsel of record via CM/ECF
